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               EXHIBIT E
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KORKEIN OIKEUS                       PÄÄTÖS               Diaarinro
                                                          S2018/460

                                                      Antopäivä                  Nro
                                                      29.10.2018                 2017


MUUTOKSENHAKIJAT

                          Trevor Baylis
                          Kelly Myers
                          Pyry Parkkola

ASIA                      Tekijänoikeutta koskeva riita

RATKAISU, JOHON ON HAETTU MUUTOSTA

                          Markkinaoikeus 31.5.2018 nro 302/18



KORKEIMMAN OIKEUDEN PÄÄTÖS

                          Valituslupaa ei myönnetä. Markkinaoikeuden tuomio jää siis pysyväksi.




                          Esittelijä                  Saini Siitarinen




Asian ovat ratkaisseet oikeusneuvokset Häyhä ja Leppänen. Esittelijä on ollut määräaikainen oikeussihteeri
Siitarinen.
